

Velasquez v 94 E. 208 St. Partners LLC (2023 NY Slip Op 05110)





Velasquez v 94 E. 208 St. Partners LLC


2023 NY Slip Op 05110


Decided on October 10, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 10, 2023

Before: Manzanet-Daniels, J.P., Gesmer, González, Kennedy, O'Neill Levy, JJ. 


Index No. 31258/19 Appeal No. 745 Case No. 2022-04473 

[*1]Jose Velasquez, Plaintiff, Juan M. Maillazhungo, Plaintiff-Appellant,
v94 E. 208 Street Partners LLC et al., Defendants-Respondents, Pioneer General Construction Co., L.L.C., Defendant.


Diamond and Diamond LLC, Brooklyn (Stuart Diamond of counsel), for appellant.
Law Offices of Sanjay Chaubey, New York (Sanjay Chaubey of counsel), for 94 E. 208 Street Partners LLC, respondent.
Farber Brocks &amp; Zane L.L.P., Garden City (Lester Chanin of counsel), for Linzi Contracting Services, Inc., respondent.



Order, Supreme Court, Bronx County (Lucindo Suarez, J.), entered September 28, 2022, which, to the extent appealed from as limited by the briefs, denied plaintiff's motion for partial summary judgment as to liability on his Labor Law § 240(1) claim against defendant 94 E. 208 Street Partners LLC, unanimously reversed, on the law, without costs, and the motion granted.
Plaintiff Juan M. Maillazhungo established prima facie that defendant violated Labor Law § 240(1) and that the violation proximately caused his injuries, as his uncontroverted affidavit demonstrated that the scaffold supplied to him for the work he was performing lacked guardrails and that no other protective devices were provided to protect him from falling. The motion was not premature as defendants failed to show what discovery was needed or what any additional discovery could be expected to reveal (see CPLR 3212 [f]; Laporta v PPC Commercial, LLC, 204 AD3d 538 [1st Dept 2022]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 10, 2023








